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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
vs.                                               )   CIVIL NO. 05-cr-40010-JPG
                                                  )
TIMOTHY R. VAUGHN,                                )
                                                  )
                       Defendant.                 )


                                            ORDER
GILBERT, District Judge:

       At the Court’s request, contract reporter Jane Northcutt has prepared a transcript of the July

12, 2006, hearing held in this case. Pursuant to the Guide to Judiciary Policies and Procedures,

Chapter 20, Part 20.4.2, and Ms. Northcutt’s contract with the Court, the Court ORDERS the cost

of the transcript to be borne by the United States.

       IT IS SO ORDERED.
       DATED: August 13, 2007


                                                      s/ J. Phil Gilbert
                                                      J. PHIL GILBERT
                                                      United States District Judge
